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                                                                                             IN OPEN COURT



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                     IN THE UNITED STATES DISTRICT COURT FOR THE                      CLERK U.S. DISTRICT COURT ,4#
                             EASTERN DISTRICT OF VIRGINIA                               ALEXANDRIA. VIRGINIA



                                        Alexandria Division


 UNITED STATES OF AMERICA

                V.                                    Case No. 1:19-CR-174

 LAUREN JOSEPH DUNN,                                  Counts 1-9: 18 U.S.C. §§ 1343 & 2
  a.k.a."EON DUNN,"                                   (Wire Fraud)

               Defendant.                             Forfeiture Notice




                                          INDICTMENT

                             May 2019 Term-at Alexandria, Virginia

       THE GRAND JURY CHARGES THAT:

                                      Introductory Allegations


       At all times relevant to this Indictment:


       1.     LAUREN JOSEPH DUNN("DUNN")resided in the Eastern District of Virginia

and was the owner and operator of AmeriFunding, Inc.("AmeriFunding").

                                  Scheme and Artifice to Defraud


       2.     Starting no later than in or about November 2016, through at least in or about

October 2018, in the Eastern District of Virginia and elsewhere, the Defendant, LAUREN

JOSEPH DUNN,knowingly devised and intended to devise a scheme and artifice to defraud

and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises.

       3.     DUNN,doing business as AmeriFunding, made false material representations in

order to induce individuals to provide money to DUNN and AmeriFunding. DUNN told

investors that he and/or AmeriFunding could help them obtain funding through international
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